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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
JARED L. TAYLOR                        :             CIVIL ACTION
                                       :
            v.                         :
                                       :
RYDER TRUCK RENTAL INC.,               :             NO. 19-1068
et al.

                                 MEMORANDUM
Bartle, J.                                                 June   13, 2019

            Plaintiff Jared L. Taylor, a citizen of New Jersey,

has instituted this diversity action against defendants for

personal injuries he suffered in a tractor-trailer accident on

March 23, 2017, on Interstate 80 in Richland Township, Clarion

County, Pennsylvania.      See 28 U.S.C. § 1332.      Defendants have

moved to dismiss the complaint under Rule 12(b)(3) of the

Federal Rules of Civil Procedure for improper venue.            They also

seek dismissal for failure to state a claim for relief under

Rule 12(b)(6) and for a more definite statement under Rule

12(e).

            We begin with the motion insofar as it seeks dismissal

for improper venue.      Under 28 U.S.C. § 1391(b), a civil action

such as this may be brought in

                   (1) a judicial district in which any
                 defendant resides, if all defendants are
                 residents of the State in which the
                 district is located;

                   (2) a judicial district in which a
                 substantial part of the events or
                 omissions giving rise to the claim
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               occurred, or a substantial part of
               property that is the subject of the
               action is situated; or

                 (3) if there is no district in which
               an action may otherwise be brought as
               provided in this section, any judicial
               district in which any defendant is
               subject to the court’s personal
               jurisdiction with respect to such action.

          In this action, there are five defendants which appear

to be corporations or business entities.       These defendants have

various states of incorporation and principal places of business

other than Pennsylvania, but all are alleged to have sufficient

contacts with this district to be subject to this court’s

personal jurisdiction.

          There is one individual defendant, Nicholas J.

Henderson, who is described as the driver of the tractor-trailer

involved in the accident.    The complaint alleges on information

and belief that he is a citizen and resident of Maine.         In a

recent declaration filed at the court’s direction, Henderson

declares that he was domiciled in California at the time of the

accident but is currently domiciled in Maine.        He further states

that he has never been domiciled in Pennsylvania.

          Under subsection (b)(1) of § 1391, venue is authorized

in “a judicial district in which any defendant resides if all

the defendants are residents of the State in which the district

is located.”   Thus, all defendants here under this subsection


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must at least reside in Pennsylvania, the state in which this

judicial district is situated.      For purposes of § 1391, a

natural person resides in the judicial district in which he or

she is domiciled.    See 28 U.S.C. § 1391(c)(1).       Residency is

defined more broadly for entities.       See 28 U.S.C. § 1391(c)(2)

and (d).    Even if venue is correct as to all the non-individual

defendants, a subject on which we do not opine, subsection

(b)(1) does not fit because Henderson is a resident of Maine.

            Under subsection (b)(2), the action may be brought in

“a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred . . .”          28 U.S.C.

§ 1391.    No events or omissions are alleged to have occurred in

the Eastern District of Pennsylvania. 1      The accident took place

in Clarion County which is located in the Western District of

Pennsylvania. The latter is a district, and indeed the only

district, where venue would be proper under § 1391(b).

            Accordingly, because venue is wrong in the Eastern

District of Pennsylvania, this court, in the interest of

justice, will transfer this action, pursuant to 28 U.S.C.

§ 1406(a), to the Western District of Pennsylvania where it

could have been brought.     We defer to the court in that district




1. Taylor alleges he received his medical treatment in New
Jersey.
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to resolve the other issues raised by the defendants in their

pending motion.




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